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                               CERTIFICATE OF SERVICE

       I certify that, on March 14, 2017, a true copy of the foregoing document was filed

electronically via this Court’s CM/ECF system which served a copy on the following:



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